Case 3:13-cv-01059-MLC-LHG Document 18-2 Filed 04/22/13 Page 1 of 9 PageID: 319




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                      THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY

 JAMES A. PAONE, AS COURT                  :
                                               Civil Action No.
 APPOINTED RECEIVER OF THE                 :
                                               3:13-CV-01059 (MLC)(LHG)
 PROPERTY OF DEBORAH PECK,                 :
                                           :
                          Plaintiff,       :
                                               AFFIDAVIT OF
                                           :
                                               GEORGE C. PECK: (A) IN
                 v.                        :
                                               OPPOSITION TO MOTION FOR
                                           :
                                               PARTIAL SUMMARY
 GEORGE C. PECK                            :
                                               JUDGMENT, AND (B) IN
 AND DEBORAH PECK,                         :
                                               SUPPORT OF CROSS-MOTION
                                           :
                                               FOR SUMMARY JUDGMENT
                          Defendants.      :
                                               WITH RESPECT TO HIS
                                           :
                                               COUNTERCLAIMS
                                           :
                                           :

 STATE OF FLORIDA                        )
                                         SS:
 COUNTY OF PALM BEACH                    )

           GEORGE C. PECK, being duly sworn, hereby deposes and says:

           1.    I am a defendant in the above-captioned action. I am fully familiar

 with the facts and circumstances set forth below. I make this affidavit (the “Peck

 Aff.”) in support of my opposition to the motion for partial summary judgment


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Case 3:13-cv-01059-MLC-LHG Document 18-2 Filed 04/22/13 Page 2 of 9 PageID: 320




 (the “Motion”) filed by James A. Paone, as court appointed receiver (the

 “Receiver”) of the property of Deborah Peck, and in support of my cross-motion

 (the “Cross-Motion”) seeking summary judgment on the counterclaims (the

 “Counterclaims”) asserted in my Answer, Defenses and Counterclaim.

           2.    On or about November 2, 1987, my sister Joyce Agresti (“Agresti”)

 and I each acquired one-half interest in certain real property located at 20 Vroom

 Avenue in Spring Lake, New Jersey (the “Property”).

           3.    Agresti and I acquired our respective interests in the Property via

 transfer from our late parents, George C. Peck and Rose Peck, who had previously

 owned the Property.

           4.    The Property itself has been in the Peck family since the late 1950’s,

 and has, at all times, been utilized as a family residence and vacation home.

           5.    At the time the Property was conveyed to my sister and me by our

 parents, there existed an implied restraint and condition against any transfer, sale

 or disposition of the Property without our affirmative consent.         This implied

 restraint and condition existed for the purpose of preventing the loss of the

 Property, which had been a family asset, specifically dedicated to the restricted and

 conditional use and enjoyment by the Peck family, as such Property had been

 previously and continually used from the late 1950’s through the time the Property

 was transferred to my sister and me by our parents.


                                             2
 DM3\2515169.2
Case 3:13-cv-01059-MLC-LHG Document 18-2 Filed 04/22/13 Page 3 of 9 PageID: 321




           6.    The Property remained unencumbered and well-maintained from the

 time my sister and I received it via transfer from our parents in 1987 through and

 including early December 2009.

           7.    On or about December 8, 2009, Agresti entered into an agreement (the

 “Sale Agreement”) to sell her half-interest in the Property to my daughter, Deborah

 Peck (“Deborah Peck”) for $1,400,000, the fair market value of such share.

           8.    On March 2, 2010, pursuant to the Sale Agreement, title to one-half of

 the Property was conveyed to Deborah Peck. Deborah Peck financed the purchase

 of her share of the Property with: (a) approximately $400,000 in cash, and (b)

 purchase money financing in the total amount of $1,000,000.

           9.    The purchase money financing of $1,000,000 (the “Loan”) was

 provided by Peapack-Gladstone Bank (the “Lender”), conditioned upon: (a) good

 and unencumbered title in the Property to secure a valid first mortgage (the

 “Mortgage”) against the entire Property; and (b) a joint promissory note (the

 “Note”) in the amount of $1,000,000, executed in favor of and delivered to the

 Lender, to be executed by Deborah Peck, cosigned by me, and to be collateralized

 by the Property.

           10.   On March 2, 2010, the Note and Mortgage were executed and the

 Loan proceeds were fully paid to Deborah Peck. I did not receive any portion of




                                             3
 DM3\2515169.2
Case 3:13-cv-01059-MLC-LHG Document 18-2 Filed 04/22/13 Page 4 of 9 PageID: 322




 the Loan proceeds, nor were any of the proceeds paid to any third party for my

 benefit.

           11.   Prior to the execution of the Note, on December 8, 2009, Deborah

 Peck and I entered into a separate written agreement regarding the pending

 transaction (the “Agreement”). Specifically, the Agreement notes that “in order to

 effect the purchase [of her one-half interest in the Property], Deborah [Peck] needs

 a mortgage of one million dollars,” and acknowledges that the Lender “is willing

 to give [the Loan] so long as George Peck co-signs [the Note] as a guarantor.” A

 true copy of the Agreement is attached hereto as Exhibit “A”.

           12.   Most notably, the Agreement specifically provides that, (despite the

 co-signing of the Note) Deborah Peck shall be solely responsible for the Loan

 payments.

           13.   Specifically, the Agreement states as follows:

                 George Peck is willing to co-sign [the Note] so long as
                 Deborah [Peck] will make all of the mortgage payments
                 including interest and principal. Deborah agrees to make
                 all of these payments.

           14.   Both Deborah Peck and I executed the Agreement. Deborah Peck has

 confirmed the existence and validity of the Agreement.

           15.   The Agreement was executed in order to create an enforceable

 obligation against Deborah Peck for my benefit until Deborah Peck satisfied the

 Note and Mortgage in their entirety.

                                             4
 DM3\2515169.2
Case 3:13-cv-01059-MLC-LHG Document 18-2 Filed 04/22/13 Page 5 of 9 PageID: 323




           16.   At the time I executed the Note as a co-signer and guarantor, I failed

 to understand the full impact of allowing the one-half interest in the Property to

 immediately transfer to Deborah Peck, and having the new deed from Joyce

 Agresti recorded prior to the satisfaction of the Mortgage in full by Deborah Peck.

           17.   In executing the Note, I specifically relied upon the Agreement and, in

 fact, I would not have agreed to co-sign the Note as a guarantor absent the specific

 Agreement which provided that Deborah Peck would have the responsibility for

 making the Loan payments.

           18.   Similarly, I allowed my one-half interest in the Property to be pledged

 as mortgage collateral to the Lender based upon my complete reliance on the

 separate Agreement between Deborah Peck and me.

           19.   As evidenced by the specific terms of the Agreement, I co-signed the

 Note for the sole purpose of enabling Deborah Peck to purchase a one-half interest

 in the Property. The transfer of the one-half interest in the Property from Agresti

 to Deborah Peck was made with the express intent to continue to honor and affirm

 the existing implied restraint and condition against the transfer, sale or disposition

 of the Property, as the transfer to Deborah Peck allowed the interest in the Property

 to remain in the Peck family in accordance with the existing implied restraint and

 condition.




                                             5
 DM3\2515169.2
Case 3:13-cv-01059-MLC-LHG Document 18-2 Filed 04/22/13 Page 6 of 9 PageID: 324




           20.   Deborah Peck breached the Agreement in August 2012 by failing to

 make a requisite mortgage payment and defaulting under the terms of the Note.

 Since August 2012, I have made all payments due and owing to the Lender under

 the terms of the Note.

           21.   I made these payments with the express understanding that Deborah

 Peck is required to reimburse me for same in accordance with the terms of the

 Agreement, and to prevent default under the Note and Mortgage.

           22.   At all relevant times, I only agreed to act as a guarantor of the specific

 Loan provided by the Lender. More specifically, at no time have I agreed to

 provide surety to Frederick Cornelius Komen, Deborah Peck’s judgment creditor

 (“Komen”), or the Receiver, for the liabilities of Deborah Peck.

           23.   On December 7, 2012, the Receiver filed a complaint (the

 “Complaint”) naming both Deborah Peck and me as defendants, seeking partition

 and sale of the Property in aid of Komen, a judgment creditor holding a judgment

 in excess of $800,000 against Deborah Peck.

           24.   On February 20, 2013, I filed my Answer, Defenses Cross-Claim and

 Counterclaim (the “Answer”), in which I asserted: (a) a cross-claim against

 Deborah Peck seeking to impose, on equitable grounds, a resulting trust against

 Deborah Peck’s interest in the Property for any and all of my rights, including

 rights of equitable subrogation and contribution, senior to all rights of the Receiver


                                              6
 DM3\2515169.2
Case 3:13-cv-01059-MLC-LHG Document 18-2 Filed 04/22/13 Page 7 of 9 PageID: 325
Case 3:13-cv-01059-MLC-LHG Document 18-2 Filed 04/22/13 Page 8 of 9 PageID: 326




                           EXHIBIT A
Case 3:13-cv-01059-MLC-LHG Document 18-2 Filed 04/22/13 Page 9 of 9 PageID: 327
